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EXHIBIT 12

exhibits

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A note from the Seoolar Coalltion Board of Dlrectors. View this entail in your brow ser

Atheists. Agnosttcs. Humanists.
Americans.

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L`OAL|T}ON FGR AMBR!C.»’\

   

Ju!y 24, 2014

Dear Amanda,

To say that it has been an eventtu| spring and summer for the Seculer Coalition for
mencer would be an understatement We’ve had our most successful i_obby Day and
Secular Summit ever, with four members of Congress attending and addressing our
group, and we`ve undergone significant changes as our organization has transitioned
under new bylaws and a new Board of Directors. Ivloreover, it you follow the SCA
ciosely, you may be aware that we've had our share of turbulence this year as well. For
reasons that will be described below, we have been relatively silent to date about most
of the matters underlying that turbulence. even as some others have been quite publicly

vocal about it, but at this time we'd like to address some of the main issues that have

been raised. 7 ~ - ;_.-.,_.i

~,"1_..5_- .

While we could never address the myriad
issues that have been the subject ot public
chatter, we wantto address thosethat would _ _
seem to be of most concern to our supporters f
Our intent is not to respond to every
representation that has been made publicly,
nor is it to win any public debates or
argun“ients1 but instead it is to clarity the record
as best We can for our supportersl coalition
member groups, and others whose goal is to -
advance the secular movementl As is often the '. _- -l
case with oniine buzz, information that is '
inaccurate or misleading sometimes gains
traction, and our goal here is to deliver
accurate and relevant information

  
  
  
 

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The main issue that we will address is the departure of our Executive Director, Edwina
Ftogers. At the outset, we must point out that not only is this a personnel matter, but lt is
a personnel matter in which there is no departure agreement between the exiting
employee and the SCA. For this reason. we are simply not in a position to comment
much about the personnel decision, beyond saying that the decision was well within the
legal discretion of the SC/-\ The employment in question was “at will,” and the SCA
Eioard of Directors unanimously concluded that a change in leadership was in order

To understand how this situation has developedl it is important to understand the turn
of events that occurred Shortly after the SCA Board voted to make the personnel
change, a The l\lew York Times reporter started trying to contact board members, and
apparently contacted l\/ls. Rogers. The SCA does not know how the reporter learned
that events were unfolding - we can only say that the SCA did not contact the Times.
nor did the SCA authorize any leak, nor would the SCA have had anything to gain from
doing so. in fact, the 'l'irnes involvement created a significant disruption. Subseduent to
the Tr'mes contact SCA’s attempted discussions with Ms. Rogers were severely
hampered We offered a severance with the aim of reaching a departure agreement
wherein the parties could move forward amicably, and even scheduled a meeting to
discuss the issue further. l\/ls. Rogers did not attend the scheduled meeting

What did occur soon thereafterr however, is that two individuals (tormer SCA donors)
suddenly demonstrated an extraordinary level of interest in the personnel matter, to the
point of disseminating scathing emal|s regarding the SCA Board. l\/lost of these
communications related to the personnel matter. Our responses ~whlch merely stated
that because the underlying matter involved personnel issues, we were not in a position
to talk about it in detail with the public or with donors ~ only seemed to enrage these
individuals furtherl Accusations of secrecy and lack of transparency (not understanding
that we cannot be publicly "transparent” about a personnel issue) were made
frequently often daily Still, we were adamant that we would not publicly discuss the
personnel matter, even as the criticism became public and threatening

`l'he fact that the E'»oard felt new leadership was needed to take the SCA in a different
direction and has been unable to comment much beyond thet, has done nothing to
appease the aforementioned critics` and the accusations have continued We are very
disappointed to have lost their supportl even as we are puzzled by the intensity ot their
reaction and the depth ot their interest in this personnel matter_

Sorne illustration is necessary to explain the nature ot this criticism. We have
repeatedly been questioned for exam pie, not just about the personnel decision itself,
but its timing, coming shortly before tobby Day. This, we were told, was evidence of

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our poor decision-making l~lowever, the Lobby Day event was a smashan success,
with a record number of members of Congress attending Nong with these allegations
come others that are similarly aimed at questioning the wisdom of the Board’s
personnel decision, such as suggestions that a donation of an art collection was lost
due to our actions Without even discussing the accuracy of these claims (since the
details would prolong the letter even further), we would simply point out that the SCA
member groups. which elect Board members, are free to take the legitimacy of such
claims into consideration as Board members come up for reelection Sufflce it to say
that none of these mem ber groups has expressed concern about the art to date.

One thing we did say at the outset when this matter became publlc, just so the record
was clear, was that le. Rogers was never a suspect in connection with a scheme in
which two other employees misappropriated about $78,000 in SCA assets in 20l3.
Slnce the theft of SCA assets is something that is relevant to donors, and since it has
been mentioned by the aforementioned critics, we will address it here, though we
emphasize that it is unrelated to the personnel matter What we can say is that the two
perpetrators were terminated in January, and that a criminal investigation by the District
of Columbia potice is ongoing Of course, employee malfeasance can occur in virtually
any business enterprise, particularly when the perpetrator is in a position of trust (as
was the case here). SCA is extremely disappointed that this embezzlement occurred
We note. however, that since the discovery we have ordered a forensic accountingf
and we have implemented all precautionary steps suggested by the accountants

Claims have also been made that the SCA is involved in litigation or regulatory action
l-lowever, we have not been informed of any actual litigation or regulatory action. SCA
is committed to complying with all federal, state and local laws, rules. regulations and
reporting requirements

One more issue that has been raised publicly - again mainly by the aforementioned
donors »- has been criticism of the fact that SCA!s Presldent, Amanda lVletskas, has
shown interest in the Executlve Director positionl and in fact has stepped in as Acting
Chiel Executive while a search is conducted To this criticism, we simply point out that
the SCA has hired a professional search firm to vet prospective candidates and
present a slate of tinalists to the Board. Our Board will make its decision regarding the
next Executive Director based on relevant facts and information in what we feel is the
best interest of SCA. We are grateful to Amanda for stepping in during this difficult time
of transition, but we have also made it clear to her that we are conducting a full and
thorough search. Donors are free to convey opinions on such matters, but of course
we would expect them to allow the Board to exercise its discretion when it comes to
final decisions During the time that Amanda is serving as Acting Chief Executive, the
Board is being chaired by \fice President Patty Guzikowski,

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The secular movement is vibrant and active, and the SCf-\ is a vital part of it » a
coalition of the nation's largest and most active secular groups, joined together for the
purpose of lobbying in the nation's capital, raising the profile of secular Arnericans. We
are committed to our mission, most appreciative of your support and hope that you will
continue to put your trust in us.

We hope that this correspondence has answered some of the questions that you may
have.

Feel free to contact us if you feel that we can be of any
g assistance though please understand that we do not intend to
fillm address the personnel matter described herein any further,

pubticly or with sL.ipportersl for reasons explained

S§§`llIAR Yours in secularity,
" The Secular Coalition for America Board of
Directors

 

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